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 5
     Attorney(s) for Social Positioning Input Systems, LLC
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 7
                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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 9
     SOCIAL POSITIONING INPUT        §
     SYSTEMS, LLC,                   §
10                                   §
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          Plaintiff,                 §             Case No. 5:21-cv-06704
                                     §
12   vs.                             §             PATENT CASE
13
                                     §
     ABAQUS, INC.,                   §             COMPLAINT
14                                   §
15
          Defendant.                 §
     ________________________________§
16

17
           Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files
18
     this Complaint against Abaqus, Inc. (“Defendant” or “Abaqus”) for infringement of
19
     United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).
20
                              PARTIES AND JURISDICTION
21
           1.     This is an action for patent infringement under Title 35 of the United
22
     States Code. Plaintiff is seeking injunctive relief as well as damages.
23
           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
24
     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
25
     infringement arising under the United States patent statutes.
26
           3.     Plaintiff is a Texas limited liability company with an address of 1 East
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     Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a Delaware corporation with its
 2   principal office located at 972 N California Avenue, Palo Alto, CA 94303. On
 3   information and belief, Defendant may be served through its agent, Vcorp Services,
 4   LLC, 1013 Centre Road Suite 403-B, Wilmington, DE 19805.
 5          5.     On information and belief, this Court has personal jurisdiction over
 6   Defendant because Defendant has committed, and continues to commit, acts of
 7   infringement in this District, has conducted business in this District, and/or has
 8   engaged in continuous and systematic activities in this District.
 9          6.     On information and belief, Defendant’s instrumentalities that are alleged
10   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
11   in this District.
12                                          VENUE
13          7.     On information and belief, venue is proper in this District under 28
14   U.S.C. § 1400(b) because Defendant is deemed to reside in this District.
15   Alternatively, acts of infringement are occurring in this District and Defendant has a
16   regular and established place of business in this District.
17                                         COUNT I
18         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)
19          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
20          9.     This cause of action arises under the patent laws of the United States
21   and, in particular, under 35 U.S.C. §§ 271, et seq.
22          10.    Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
23   to enforce the ‘365 Patent and sue infringers.
24          11.    A copy of the ‘365 Patent, titled “Device, System and Method for
25   Remotely Entering, Storing and Sharing Addresses for a Positional Information
26   Device,” is attached hereto as Exhibit A.
27          12.    The ‘365 Patent is valid, enforceable, and was duly issued in full
28   compliance with Title 35 of the United States Code.
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 1         13.    Upon information and belief, Defendant has infringed and continues to
 2   infringe one or more claims, including at least Claim 1, of the ‘365 Patent by making,
 3   using (at least by having its employees, or someone under Defendant's control, test
 4   the accused Product), importing, selling, and/or offering for sale associated hardware
 5   and software for asset locating services (e.g., Abaqus allGeo asset tracking platform,
 6   and any associated hardware, apps, or other software) (“Product”) covered by at least
 7   Claim 1 of the ‘365 Patent. Defendant has infringed and continues to infringe the ‘365
 8   patent either directly or through acts of contributory infringement or inducement in
 9   violation of 35 U.S.C. § 271.
10         14.    The Product provides an asset tracking system for real-time GPS
11   tracking of assets. A user can receive location information on a positional information
12   device (e.g., mobile device or computer). Certain aspects of this element are
13   illustrated in the screenshot(s) below and/or in those provided in connection with
14   other allegations herein.
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           15.    The Product software sends a request from a first (requesting) positional
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     information device (e.g., mobile device or desktop with software installed) to a server.
14
     The request is for the real-time location (e.g., stored address) of an asset, and includes
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     a first identifier of the requesting positional information device (e.g., user ID and
16
     password for the Product software used in the particular enterprise). The request is
17
     sent to the Product server for transmitting the asset location. The server receives the
18
     at least one address from a second (sending) positional information device at the asset
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     (e.g., employee mobile phone). Certain aspects of this element are illustrated in the
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     screenshot(s) below and/or in those provided in connection with other allegations
21
     herein.
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 1         16.   The at least one address is received from the server at the requesting
 2   positional information device.    For example the Product’s server transmits the
 3   position of an asset (at least one address) to the requesting positional information
 4   device. Certain aspects of this element are illustrated in the screenshot(s) below
 5   and/or in those provided in connection with other allegations herein.
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16         17.    A second identifier for the second (sending) positional information
17   device is determined based on the first identifier and the server retrieves the at least
18   one address stored in the at least one sending positional information device. The
19   Product application installed on the requesting positional information device requests
20   (from the server) the asset’s GPS location (i.e., at least one stored address stored). As
21   shown above, before activating the tracker (i.e., the sending positional information
22   device), a unique tracking device’s ID number or credentials (i.e., second identifier)
23   needs to be added to the user’s account identified by the user login ID and password
24   (i.e., the first identifier). Hence, the tracker device’s ID number or asset credentials
25   (i.e., second identifier) is mapped to the user’s login ID (i.e., the first identifier) for
26   tracking the real-time location (i.e., at least one stored address stored) of the asset.
27   Certain aspects of this element are illustrated in the screenshot(s) below and/or in
28   those provided in connection with other allegations herein.
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           18.    Defendant’s actions complained of herein will continue unless
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     Defendant is enjoined by this court.
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           19.    Defendant’s actions complained of herein are causing irreparable harm
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     and monetary damage to Plaintiff and will continue to do so unless and until
19
     Defendant is enjoined and restrained by this Court.
20
           20.    Plaintiff is in compliance with 35 U.S.C. § 287.
21
                                 DEMAND FOR JURY TRIAL
22
           21. Under Rule 38 of the Federal Rules of Civil Procedure, Plaintiff requests a
23
     trial by jury of any issues so triable by right.
24
                                    PRAYER FOR RELIEF
25
           WHEREFORE, Plaintiff asks the Court to:
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           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
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     asserted herein;
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 1         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
 2   employees, attorneys, and all persons in active concert or participation with Defendant
 3   who receive notice of the order from further infringement of United States Patent No.
 4   9,261,365 (or, in the alternative, awarding Plaintiff a running royalty from the time of
 5   judgment going forward);
 6         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 7   accordance with 35 U.S.C. § 284;
 8         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
 9         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
10   entitled under law or equity.
11

12   Dated: August 30, 2021                 Respectfully submitted,
13
                                            /s/ Stephen M. Lobbin
14                                          Stephen M. Lobbin
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19                                          Attorney(s) for Plaintiff Social Positioning
                                            Input Systems, LLC
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